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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


  UNITED STATES OF AMERICA

  v.                                                          Case No. 3:05-M-0032-TEM

  GUSTAVO ADOLFO CARDENAS
  ALEJANDRO DIAZ-RUEDA


                       NOTICE OF SETTING PRELIMINARY HEARING

         TAKE NOTICE that this case is hereby SET for a preliminary hearing on February

  14, 2005 at 2:00 P.M., before the Honorable Thomas E. Morris, United States Magistrate

  Judge, in Courtroom 5B, Fifth Floor, United States Courthouse, 300 North Hogan Street,

  Jacksonville, Florida.

  DATE: February 9, 2005
                                                 THOMAS E. MORRIS
                                                 United States Magistrate Judge



                                           By: /s/ Carol J. Holliman
                                                   Carol Holliman
                                                   Courtroom Deputy Clerk
                                                   (904) 549-1952

  Copy to:
  Asst. U. S. Attorney (Brown)
  Roland Falcon, Esquire
  Asst. Federal Public Defender (Grant)
  United States Marshal
  U. S. Probation
  U. S. Pretrial

  PLEASE NOTE: Photo I.D. is required to enter the United States Courthouse. Also, cellular
  telephones and laptop computers are prohibited in the Courthouse.
